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     Attorneys for Plaintiff
16
                         IN THE UNITED STATES DISTRICT COURT
17
                               FOR THE DISTRICT OF ARIZONA
18
19   United States of America,                              CR-18-00465-PHX-SPL
20                        Plaintiff,
            vs.                                          MOTION TO CONTINUE
21                                                          SENTENCING
22   1-Backpage.com, LLC,                                      (Second Request)
     2-Website Technologies, LLC,
23   3-Posting Solutions, LLC,
     4-Amstel River Holdings, LLC,
24   5-Ad Tech BV,
     6-UGC Tech Group CV,
25
                          Defendants.
26
27         The United States of America hereby requests this Court to continue the sentencing
28
       Case 2:18-cr-00465-SPL Document 80 Filed 12/07/18 Page 2 of 2



 1   currently set for January 17, 2019, at 9:00 a.m. for defendants, Backpage.com, LLC, et al.
 2   for a period of six months because it is in the interest of justice. Defense counsel has no
 3   objection to this motion.
 4
            Respectfully submitted this 7th day of December, 2018.
 5                                              ELIZABETH A STRANGE
                                                First Assistant United States Attorney
 6                                              District of Arizona
 7                                              JOHN P. CRONAN
                                                Acting Assistant Attorney General
 8                                              Criminal Division, U.S. Department of Justice
 9                                              s/ Kevin M. Rapp
                                                KEVIN M. RAPP
10                                              MARGARET PERLMETER
                                                PETER S. KOZINETS
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                                                JOHN J. KUCERA
13                                              Special Assistant U.S. Attorney
14                                              REGINALD E. JONES
                                                Senior Trial Attorney
15                                              U.S. Department of Justice, Criminal Division
                                                Child Exploitation and Obscenity Section
16
17
                                  CERTIFICATE OF SERVICE
18
            I hereby certify that on this date, I electronically transmitted the attached document
19
     to the Clerk’s Office using the CM/ECF System for filing.
20
            I hereby certify that on this same date, I served the attached document by Electronic
21
     mail, on the following, who may or may not be registered participants of the CM/ECF
22   System:
23          David Lawrence Botsford
            Botsford & Roard
24          1307 West Ave.
            Austin, TX 78701
25          Email: dbotsford@aol.com
            Attorney for Backpage.com, et al.
26
     s/ Angela Schuetta
27   US Attorney’s Office
28


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                        IN THE UNITED STATES DISTRICT COURT
 8
                             FOR THE DISTRICT OF ARIZONA
 9
10   United States of America,                      No. CR-18-00465-PHX-SPL
11                       Plaintiff,
                                                               ORDER
12           vs.
13   1-Backpage.com, LLC,
     2-Website Technologies, LLC,
14   3-Posting Solutions, LLC,
     4-Amstel River Holdings, LLC,
15   5-Ad Tech BV,
     6-UGC Tech Group CV,
16
                         Defendants.
17
18
           The Court having reviewed the Government’s Unopposed Motion to Continue
19
     Defendants’ Sentencing Hearing (Doc.       ), and good cause appearing,
20
           IT IS ORDERED granting the Government’s Unopposed Motion to Continue
21
     Defendants’ Sentencing Hearing.
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           IT IS FURTHER ORDERED continuing the Sentencing from January 17, 2019, to
23
                        at ___________.
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25
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27
28
